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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION
DISABILITY RIGHTS FLORIDA, INC.,

                             Plaintiff,

vs.                                                          Case No. 3:18-cv-179-J-20JRK

JULIE JONES, Secretary, Florida Department
of Corrections, in her Official Capacity, and
FLORIDA DEPARTMENT OF CORRECTIONS,
an Agency of the State of Florida,

                             Defendants.


Counsel for Plaintiff:                           Andrea Costello, Esquire
                                                 Kristen Cooley Lentz, Esquire

Counsel for Defendants :                         Joel Steven Carter, Esquire
                                                 Dorothy Burnsed, Esquire
                                                 Kenneth S. Steely, Esquire



 JUDGE                   James R. Klindt           DATE AND TIME    8/7/2018
                         U.S. Magistrate Judge                      10:08 a.m. - 1:45 p.m.
                                                                    Recess
                                                                    2:15 p.m. - 5:20 p.m.
 DEPUTY CLERK            Megan Chaddock            TAPE/REPORTER    Digital


                                          CLERK’S MINUTES

PROCEEDINGS:            SETTLEMENT CONFERENCE RE PLAINTIFF’S ATTORNEYS’ FEES AND
                        COSTS

Present for Plaintiff
      Cherie Hall

Present for Defendants
      Steve Coyle, Risk Management

In chambers Settlement conference conducted - Settled.
